                             UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     WESTERN DIVISION


 IN RE: BRENDA DELOIS ANDERSON                        )     CASE NO. 16-71980-JHH-13
                                                      )
                                                      )            CHAPTER 13 BANKRUPTCY
 DEBTOR                                               )
                                                      )

                                NOTICE OF FINAL CURE PAYMENT

         Pursuant to Federal Bankruptcy Rule 3002.1(d), the Trustee filed Notice that the amount required to
 cure the default in the below claim has been paid in full.

 Name of Creditor: US BANK TRUST N.A.
 Trustee Claim No.: 007

 Last four (4) digits of any number used to identify the Debtor’s account: 8590


 Final Cure Amount:

         Amount of Allowed Pre-Petition Arrearage: $3,567.83

         Amount Paid By Trustee                             $3,567.83


 Monthly Ongoing Mortgage Payment is Paid:

         ___ Through the Chapter 13 Trustee conduit             __x Direct by the Debtor


         Within 21 days of the service of this Notice, the creditor must file and serve same on the
 Debtor, Debtor’s counsel and the Trustee, pursuant to Federal Bankruptcy Rule 3002.1(e), a
 Statement indicating whether it agrees that the Debtor has paid in full the amount required to cure the
 default and whether, consistent with Federal Bankruptcy Rule 1322(b)(5), the Debtor is otherwise
 current on all the payments or be subject to further action of the Court including possible sanctions.


 Dated: November 22, 2021                                 Respectfully Submitted:

                                                          /s/ C. DAVID COTTINGHAM
                                                          Standing Chapter 13 Trustee




Case 16-71980-JHH13          Doc 52    Filed 11/22/21 Entered 11/22/21 15:28:50                  Desc Main
                                      Document     Page 1 of 2
                                    CERTIFICATE OF SERVICE

 I hereby certify that on November 22, 2021, service of a true and complete copy of the above and
 foregoing pleading or paper was made upon the following by depositing the same in the United States
 mail, envelopes properly addressed to each of them and with sufficient first-class postage affixed.

 Debtor
 BRENDA DELOIS ANDERSON
 990 S SCOTTSVILLE ROAD
 BRENT, AL 35034

 Debtor's Attorney –
 BETTIS AND ASSOCIATES LLC
 1320 22ND AVENUE
 TUSCALOOSA, AL 35401

 Creditor(s)-
 US BANK TRUST N.A.
 SN SERVICING CORPORATION
 323 FIFTH STREET
 EUREKA, CA 95501




                                                         /s/ C. DAVID COTTINGHAM
                                                         Standing Chapter 13 Trustee




Case 16-71980-JHH13          Doc 52    Filed 11/22/21 Entered 11/22/21 15:28:50               Desc Main
                                      Document     Page 2 of 2
